4:04-cr-03151-RGK-DLP    Doc # 95    Filed: 05/10/05   Page 1 of 2 - Page ID # 332




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )      Case No.: 4:04CR3151
                                           )
                        Plaintiff,         )
                                           )
     vs.                                   )      MEMORANDUM
                                           )       AND ORDER
FRANCISCO ROBEDO CHAIREZ,                  )
                                           )
                        Defendant.         )

      Pursuant to NELR § 79.1(c) and the Standing Order Regarding Custody
of Criminal Exhibits-Post Trial (General Order 2001 - 05 Amended),

     IT IS ORDERED that:

1.   As soon as possible, but not later than ten (10) days after a verdict has
     been rendered, all exhibits, whether offered by the United States or the
     defendant, shall be withdrawn from the clerk by the attorney who
     offered the exhibits. Except as indicated in the following sentence,
     counsel shall maintain custody of said exhibits until the disposal order
     contemplated by paragraph 3 has been entered. However, in the case
     of counsel for the United States, said counsel may deliver the exhibits
     to the appropriate state or federal agency. In that case, the agency
     shall become subject to this order.

2.   Any attorney taking any exhibits pursuant to this order shall give a
     receipt to the clerk for such documents.

3.   All exhibits thus withdrawn shall be retained until at least six (6) months
     after the case has become final and is no longer subject to appellate
     review. After that time, the attorney or agency holding the exhibits shall
     file and serve a motion for an order to destroy or otherwise dispose of
     any such exhibits. The opposing party shall have ten (10) days after
4:04-cr-03151-RGK-DLP    Doc # 95   Filed: 05/10/05   Page 2 of 2 - Page ID # 333




     service to respond to the motion. The court may then enter an
     appropriate order. Until the court enters such a disposal order, the
     exhibits shall be maintained in the same state and condition as when
     the exhibits were offered into evidence.

4.   The United States, including the appropriate agency of the state or
     federal government, may store the exhibits at any location within or
     outside the District of Nebraska.

5.   Until a disposal order is entered in accordance with paragraph 3, any
     attorney or agency holding exhibits shall make the exhibits available to
     opposing counsel for examination and use by such attorney at
     reasonable times and places upon request by opposing counsel.

6.   Until a disposal order is entered in accordance with paragraph 3, at the
     request of the clerk, any attorney or agency having custody of exhibits
     shall return the exhibits to the clerk.

7.   Notwithstanding the entry of judgment, this court retains jurisdiction over
     the parties, agencies and attorneys for purposes of assuring
     compliance with this order.

     DATED this 10th day of May, 2005.

                                    BY THE COURT:


                                    s/ Richard G. Kopf
                                    United States District Judge
